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A 0 245B (Iiev 12/03) Sheet 1 - Judgment in a Criminal Case


                            UNITED STA TES DISTRICT COURT
                                                  MIDDLE DISTRICT OF FLORIDA
                                                       TAMPA DIVISION



UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                                                              CASE NUMBER: 8:05-cr-388-T-23TBM
                                                              USM NUMBER: 48159-018
VS.


h4AFLIO DE JESUS VILLEGAS-LONDON0
                                                              Defendant's Attorney: Mark Railkin, pda

THE DEFENDANT:

X pleadcd guilty to counts ONE and TWO of the Indictment.

TITLE & SECTION                     NATURE OF OFFENSE                                    OFFENSE ENDED              COUNT

46 U.S.C. $5 1903(a), 1903(g), Conspiracy to Possess With Intent to Distribute           August 29, 2005            ONE
and 1903(j); and 21 U.S.C. 5   5 Kilograms or More of Cocaine While Aboard
960(b)(1)(B)(ii)               a Vessel Subject to the Jurisdiction of the United
                               States

46 U.S.C. $5 1903(a), and (g);      Possession With Intent to Distribute 5 Kilograms     August 29, 2005            TWO
18 U.S.C. $ 2; and 21 U.S.C. 5      or more of Cocaine While Aboard a Vessel
960(b)( l)(B)(ii)                   Subject to the Jurisdiction of the United States

        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reforrn Act of 1984.


IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of ally change
of namc, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully
paid.

If ordered to pay restitution, ihe del'cndant shall notify the court and United States Attorney of any material change in eco~lon~ic
circumstnnces.


                                                                                Date of Inlposition of Sentence: February 6, 2006




                                                                                                                              I
                                                                                    STEVEN D. MERRYDAY
                                                                                UNITED STATES DISTRICT JUDGE

                                                                                DATE: February     7 r ,2006
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A 0 245B (Rev 12/03) Sheet 2 - Imprisonment
De fcndan~:         MARIO DE JESUS VILLEGAS-LONDON0                                               Judgrncnt - Page 2 of' 6
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                                                               IMPRISONMENT

                The defendailt is hereby committed to the custody of the United Statcs Bureau of Prisons to be
imprisoned for a total term of EIGHTY-SEVEN (87) MONTHS as to counts one and two, both terlns to run coiicurrcntly.




 X The court makes the following reco~nmendationsto the Bureau of Prisons: that the defendant be placed ill either FCI Fort
Dix, New Jersey, or as a secoild choice, FCI Schuykill, Pennsylvania.



     The clefendant is remanded to the custody of the United States Marshal.
- The deI.endant sliall surrender to the United States Marstial for this district.
            ar - a.m./p.~n. on -.
          - as notitied by the United States Marshal.
- Tlie defendant shall surrender for service of sentence at the institution designaled by the Bureau of Prisons.
          - before 2 p.m. on -.
          - as 110tifiedby the United States Marshal.
          - as notitied by the Probatiorl or Pretrial Services Office.




                                                                      RETURN

          I have executed this judgment as follows:




           Defendant delivered on                                                    to

at                                                                         , with a certified copy of this judgment.


                                                                                          United States Marshal

                                                                         By:
                                                                         Deputy Marshal
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A 0 245B (Rev. 12/03) Shect 3 - Supervised Release

Defendant:         MARIO DE JESUS VILLEGAS-LONDON0                                                            Judgment - Page 3 of 6
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                                                         SUPERVISED RELEASE
        Upon release from imprisonn~ent,the defendant shall be on supervised release for a term of SIXTY (60) bfOR'TfIS as to
counts orie and two, both terms to run concurrently.

        The defendant shall report to the probation office ill the district to which the defendant is rcleased within 72 hours of release
from the custody of the Bureau of Prisons.

         While on supervised release, the defendant shall not commit another federal, state, or local crime, and shall not possess a
Iireann, a~nrnunitian,or destructive device a.s defined in 18 U.S.C. 5 921.

X
-        The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a
         controlled substance. Based on the probation officer's determination that additional drug urinalysis is necessary, the Court
         authorizes randoin drug testing not to exceed 104 tests per year.

X
-        The above drug testing condition is suspended, based on the court's determination that the defendant: poscs a low risk of future
         substance abuse.

-
X        The defendant shall cooperate in the collection of DNA as directed by the probation officer.

         If this judgment imposes a fine o r a restitution it is a condition of supervised release that the defendant pay in accordance with
         the Schedule of Payments sheet of this judgment.

         The defendant shall con~plywith the standard conditions that have been adopted by this court as well as with any additional
         conditions on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION
1)       tlic defendant shall not leavc the judicial district without the permission of tlie c o ~ ~or
                                                                                                     r tprobation officer;

2)       the defendant shall report to the probation officer and shall submit a truthful and complete writtcn report within the first ficrc days
         of each month;

3        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officcr:

4        the defendant slial l support his or hcr dependents and mect other farni l y responsi bi I i tics;

5)       the defendant shall work regularly at a lawful occupation, unless excuscd by the probation officer for schooling, training, or other
         acceptable rcasons;

61       the defendant shall notify the probation officer at least ten days prior to any cliangc in residcnce or employment;

7)       the defendant shall refrain from excessive use of alcohol and shall riot purchase, possess, use, distribute, or adrninistcr any
         controlled substance or ariy paraphernalia rclatcd to any controlled substances, exccpt as prescribed by a physici:ln;

8)       thc defendant shall not frequent places whcre controlled substances arc illegally sold, used, distributed, or administered;

9)       the defendant shall not associate with any pcrsons engaged in criminal activity and shall not associate with any person convicted of
         a fclony, unlcss granted pcrmission to do so by the probation officcr;

10)      the defendant sliall pernlit a probation officer to visit him or her a1 any time at liomc or elsewhcrc and shall pcrrnit confiscalion of
         any contraband observed in plain view of the probation officer;

1 1)     tlic defendant shall notify the probation officer within scvcnty-hvo hours of being arrested or questioned by a law enforce~ncnt
         o Efi cer;

12)      the defendant shall not enter into any agrec~nentto act as an infonncr or a special agcnt of a law cnforcernent ngcncy without thc
         pel-mission of tlic court;

13)       as directed by thc probation officer, thc dcfcndant shall notify third partics ofrisks that may bc occasioned by the derendant's criminal
          rccord or personal history or characteristics and shall permit the probatiorl officcr to make such notifications and to confirm the
          dcfcndant's compliance with such notification requircmcnt.
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A0 245B (Rev. 12/03) Sheet 3C - Supervised Release

Defendall:        MARIO DE JESUS VILLEGAS-LONDON0                                                     Judgment - Page 4 of 6
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                                       SPECIAL CONDITIONS OF SUPERVISION

         The defendant shall also comply with the following additional conditions of supervised release:

X
-        If the defendant is deported, he shall not re-enter the United States without the express permission of the appropriate
         gover~lmentalauthority, currently the United States Department of Homeland Security.
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A 0 24.513 (Rev 12/03) Sheet 5 - Crirnillal Monetary Penalties

Defendant:          MARIO DE JESUS VILLEGAS-LONDON0                                                    Judgment - Page 5--     of A
Case No.:           8:05-cr-388-T-23TBM

                                            CRIMINAL MONETARY PENALTIES

          The defendant must pay the total criminal inolletary penalties under the schedule of payinents on Sheet 6.
                             Asscssnlent                         -
                                                                 Fine                         Total Restitution

          Totals:            $200.00                             $ waived                     $


-         The determination of restitutioll is deferred until        .     An Anlerzded Judgilient iil a Cri~nirzalCase ( A 0 245C) will
          be entered after such determination.
-         The defendant Inust make restitution (including co~mnunityrestitution) to the following payees in the amount listed
          below.
          If the defendant nlakes a partial payinent, each payee shall receive an approxililately proportioned payment, unless
          specified otherwise in the priority order or percentage pa ment colurlln below. However, pursuant to 18 U.S.C. 5
          3664(i), all non-federal victims must be paid before the dnited States.
                                                                                                                 Priority Order or
                                                  *Total                      Amount of                          Percentage of
                                                Amount of Loss             Restitution Ordered                   Pay nlent




                             Totals:            L                          L

 -         Restitution amount ordered pursuant to plea agreement $
 -         The defendant shall pay interest 011 any fine or restitution of 111ore than $2,500, unless the restitution or fine is paid in full
           before the Sillecnth day after the date of the judgment, pursuailt to 18 U.S.C. § 36 12(f). All of the paynient options on Sheet
           G may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. fj 3612(g).
 -         The court determined that the defendant does not have the ability to pay interest and it is ordered that:
          -         the interest requirement is waived for the - fine        - restitution.
          -         the interest requirement for the - fine - restitutiotl is modified as follows:


* Findings for the total amount of losses are required under Cha ters 109A, 110, 1lOA, and 113A of Title 18 for the offenses
conunitted on or after September 13, 1994, but before April 23, lf96.
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A 0 245B (Rev 12/03) Sheet 6 - Scliedule of Payments

Defendant:        MARIO DE JESUS VILLEGAS-LONDON0                                           Judgment - Page 6of 6--
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                                                  SCI-IEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A.         X      Luinp sum payment of $ 200.00 due immediately, balance due
                            -not later than                   , Or
                            -in accordance - C, - D, - E or - F below; or
B.       -        Payment to begin immediately (may be combined wit11 -C, -D, or -F below); or
C.       -        Payment in equal                 (e.g ., weekly, monthly, quarterly) installments of $             over a
                  period of          (e.g., months or years), to commence               days (e.g., 30 or 60 days) after the
                  date of this judgment; or
D.       -        Payment in equal                ( e . ~,.weekly, mnonthly , quarterly) installments of $             over a
                  period of            , (e.g ., mont 1s or years) to commence                      (e.g. 30 or 60 days) after
                  release from imprisomnent to a term of supervision; or
E.       -         Pay~nentduring the term of supervised release will coimnence within                         (e.g., 30 or
                   60 clays) after release from imprisonment. The court will set the payment plan based on an assessment of
                   the defendant's ability to pay at that time, or
F.       -         Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes a period of                             payment of cri~ninal
rnonetar penalties is due during im risonment. All criminal monetary penalties.                                      made through the
          !i                            F
Federal ureau of Prisons' Imnate inancial Responsibility Program, are made
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
Several Amount, and corresponding payee, if appropriate:


-        The defendant shall pay the cost of prosecution.
-        The defendant shall pay the following court cost(s):
-        The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
( 5 ) conlrnu~lityrestitution, (6) fine interest (7) penalties, and (8) costs, including cost of prosecution and court costs.
